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                                                                                                                           CO 538
                                                                                                                        Rev. 5/2020



                UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                        FOR THE DISTRICT OF COLUMBIA
Campaign Legal Center
         Plaintiff(s)

         vs.                                                                           Civil Action No.       1:20-cv-809

Federal Election Commission
         Defendant(s)



                                     AFFIDAVIT IN SUPPORT OF DEFAULT

         I hereby certify under penalty of perjury, this 27th          day of May             ,   2020 , that I am the attorney
of record for the plaintiff in the above-entitled case; that the defendant(s)
Federal Election Commission
was [were] (select one):
        ެ✔
                  personally served with process on    March 25, 2020                                     .

         ެ         served via registered or certified mail pursuant to provisions of Rule 4(C) of the Superior Court of the
                   District of Columbia on (date the return receipt was signed by addressee):                                     .

         ެ         served via First Class Mail pursuant to provisions of Rule 4(C) of the Federal Rules of Civil Procedure on
                   (date the Acknowledgment Form was signed by addressee):                                                    .

         ެ         The authority for obtaining personal jurisdiction over the defendant served outside the District of Columbia
                   is:                                                             .

         I further certify under penalty of perjury that: no appearance has been entered by said defendant(s) in this case; no
pleading has been filed and none served upon the attorney for the plaintiff(s); (select one)
         ެ✔        no extension has been given and the time for filing has expired
         ެ         although an extension has been given, the time for filing has expired;
and the defendant is neither an infant nor an incompetent person.

         The Clerk is requested to enter a Default against said defendant(s).

                                                                                /s/ Mark P. Gaber
                                                                                    Attorney for Plaintiff(s) [signature]
                                                                                1101 14th Street NW
                                                                                Suite 400
                                                                                Washington, DC 20005
                                                                                202-736-2202
988077
Bar Id. Number                                                                    Name, Address and Telephone Number
